 8:05-cr-00138-JFB-TDT         Doc # 67     Filed: 12/08/05     Page 1 of 2 - Page ID # 172




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:05CR138
                      Plaintiff,                    )
                                                    )
       vs.                                          )              ORDER
                                                    )
GUSTAVO AMBRIZ-SALDANA,                             )      RE: MATERIAL WITNESS
                                                    )      MANUEL LOPEZ-GARCIA
                      Defendant.                    )


       This matter is before the court on the application of the United States for the arrest and
detention of a material witness, Manuel Lopez-Garcia. The court having found the application
set forth the materiality of the witness’s testimony in the above-captioned matter and it may
become impracticable to secure the presence of the witness by subpoena, an arrest warrant
was issued for the arrest of witness Manuel Lopez-Garcia on December 6, 2005, pursuant to
18 U.S.C. § 3144. Following the witness’s arrest, the witness Manuel Lopez-Garcia was
brought before the undersigned magistrate judge for a hearing on December 8, 2005.
       Manuel Lopez-Garcia appeared with his court-appointed counsel, Donald L. Schense.
Special Assistant U.S. Attorney Jennie Dugan-Hinrichs represented the United States. During
the hearing, Victoria Funes, a certified interpreter in the Spanish language, was present by
remote telephone hook-up.
       The court took judicial notice of the application and attached affidavit. Through
counsel, Manuel Lopez-Garcia waived a hearing on the government’s request for his detention
as a material witness and presented no evidence on the government’s request that he be
detained as a material witness.
       I find that the testimony of Manuel Lopez-Garcia would be material in this criminal
proceeding against Gustavo Ambriz-Saldana. I further find it may become impracticable to
secure the presence of the witness by subpoena if the witness absconds to Mexico if he were
released from custody on conditions. Since the BICE has placed a detainer with the U.S.
Marshal for deportation proceedings regarding the witness and the witness has no roots in
this community or state, I find there is no condition or combination of conditions that would
 8:05-cr-00138-JFB-TDT        Doc # 67      Filed: 12/08/05    Page 2 of 2 - Page ID # 173




reasonablely assure the presence of the witness for the upcoming criminal proceedings in this
matter if he were released on conditions.


       IT IS ORDERED:
       1.     The witness, Manuel Lopez-Garcia, is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal. The witness shall be afforded a reasonable opportunity for private
consultation with his counsel. On order of a court of the United States or on request of an
attorney for the Government, the person in charge of the corrections facility shall deliver the
witness to the United States Marshal for the purpose of an appearance in connection with a
court proceeding.
       2.     Any motion or request for a deposition of the witness pursuant to Fed. R. Crim.
P. 15(a) and 18 U.S.C. § 1344 shall be served on all parties to this case.
       DATED this 8th day of December, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




                                             -2-
